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                       IN THE UNITED STATES DISTRICT COURT FOR
                         THE SOUTHERN DISTRICT OF NEW YORK

REYNOLDS CONSUMER PRODUCTS LLC; and                                                    August 19, 2016
SOUTHWIRE COMPANY, LLC,

                  Plaintiffs,

         v.
                                                              Case No. 1:16-cv-05955
GLENCORE AG; GLENCORE INTERNATIONAL
AG; GLENCORE, LTD.; GOLDMAN SACHS &                           PROTECTIVE ORDER
CO.; GOLDMAN SACHS INTERNATIONAL;
HENRY BATH LLC; J. ARON & COMPANY;
JPMORGAN CHASE BANK, N.A.; JP MORGAN
SECURITIES PLC; METRO INTERNATIONAL
TRADE SERVICES, LLC; MITSI HOLDINGS LLC;
ACCESS WORLD (USA) LLC; and PACORINI
VLISSINGEN BV,

                  Defendants.



KATHERINE B. FORREST, District Judge:

         The parties having agreed to the following terms of confidentiality, and the Court having

found that good cause exists for issuance of an appropriately-tailored confidentiality order

governing the pre-trial phase of this litigation, it is therefore hereby ORDERED:

         1.       The Protective Order dated May 22, 2014 (“Protective Order”) entered as Docket

No. 381 in the action captioned In re Aluminum Warehousing Antitrust Litigation, Case No.

1:13-md-02481-KBF (S.D.N.Y.) (the “MDL”), attached hereto as Exhibit A, shall apply, in its

entirety, to this case.

         2.       The Stipulated Addendum to Protective Order dated October 1, 2015

(“Addendum”) entered as Docket No. 856 in the MDL, attached hereto as Exhibit B, shall apply,

in its entirety, to this case.




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         3.       All materials designated under the foregoing Protective Order or Addendum in

the MDL case may be disclosed and/or used in this case subject to the terms of the Protective

Order and Addendum.

SO STIPULATED AND AGREED.

Dated: August 18, 2016                              Respectfully submitted,

                                                    HONIGMAN MILLER SCHWARTZ AND
                                                    COHN LLP

                                                    By: /s/ Robert J. Palmersheim

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                                                    Attorneys for Plaintiffs

IT IS SO ORDERED.

DATED: ___________________________
          August 19, 2016                      ________________________________________
                                               THE HONORABLE KATHERINE B. FORREST
                                                        UNITED STATES DISTRICT JUDGE


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